Case 2:04-cr-20241-.]DB Document 89 Filed 06/22/05 Page 1 of 2 Page|D 88

FH~E|-:J ;_’,",r
IN THE UNITED STATES DISTRICT COURT WE
FOR THE WESTERN DISTRICT OF TENNESSEEB JUH 22 FH 3' 36

 

 

WESTERN DIVISION
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UNITED STATES OF AMERICA g m' MEM"H¢'S
V.
04-20241-03-B
RANELLE SCRUGGS
ORDER ON ARRAIGNMENT

Sunersedinngdictment

This cause came to be heard on 2/ , the United States Attorney
for this district appeared on behalf of the vernment, and the defendant appeared in person and with

counsel:

NAME 0% ’HM who is Retained/Appointed.

¢¢-"’____-
The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

Uefendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

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UNITED sTATYEs MAGISTRATE JUDGE

CHARGES: 1811341 & 3147(1);

U. S. Attorncy assigned to Case: C. McMullen

Age: aS-j/

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with sale 55 and/or 321:>) FF¢ch on z£'l£_l_$

   
 

UNITED sTATE D"ISIC COURT - wESRNTE D'S'TRCT 0 TESSEE

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 89 in
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Honorable J. Breen
US DISTRICT COURT

